Case 2:24-cr-00461-FMO Document51- Filed 08/30/24 Page1iofé Page ID#:145

4

UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

Case Name: United States of America v. Jose Jaime Garcia Case No. CR24-461-FMO-3
[m] Defendant [_] Material Witness

Violation of Title and Section: 18 USC 1203(a); 1201(a)(1)(c); 1951(a) 8 USC 1324(a)(1)(A)(v) (1), (a)(1)(A) (ii)
[_]Summons  [_] Out of District [[] UNDERSEAL [] Modified Date:

Check only one of the five numbered boxes below and any appropriate lettered box (unless one bond is to be replaced by another):
1. |_| Personal Recognizance (Signature Only) (c).[] Affidavit of Surety With Justification Release Date: & 13 d\2o0244

2. [_] Unsecured Appearance Bond (Form CR-3) Signed by: Released by:
$ /
3. Appearance Bond (Judge / Clerk's Initials)
$ 25,000.00 [m] Release to U.S. Probation
(a). [-] Cash Deposit (Amount or %) (Form CR-7) and Pretrial Services ONLY

[_] With Full Deeding of Property: [] Forthwith Release

(b). JX] Affidavit of Surety Without
Justification (Form CR-4) Signed by:

Trinity Nellon - Girlfriend

[_] All Conditions of Bond
ae Clearing- Warrants
i

Condition) Must be Met
and Posted by:
4,[_] Collateral Bond in the Amount of (Cash [_] Third-Party Custody
-- or Negotiable Securities): Affidavit (Form CR-31)
$ [mi] Bail Fixed by Court:
5, [_] Corporate Surety Bond in the Amount of: Jc /kih
$ (Judge / Clerk's Initials)

PRECONDITIONS TO RELEASE
[_] The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).

[_] The Court has ordered a Nebbia hearing under § 3142 (g)(4).
[_] The Nebbia hearing is set for at Cam. 0 p.m.

ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:

[m] Submit to United States Probation and Pretrial Services supervision as directed by Supervising Agency.

[m] Surrender all passports and travel documents to Supervising Agency no later than , sign a Declaration

re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency

of this case.

[m] Travel is restricted to CDCA unless prior permission is granted by Supervising

Agency to travel to a specific other location. Court permission is required for international travel as well as for any domestic travel if the
defendant is in a Location Monitoring Program or as otherwise provided for below.

[m] Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.

>
Defendant's Initials: e &y Date: gy JX /94 |
CR-1 (1/24) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM . PAGE 1 GF 6

Case 2:24-cr-00461-FMO Document51- Filed 08/30/24 Page2of6é Page ID #:146

Case Name: United States of America v. Jose Jaime Garcia Case No. CR24-461-FMO-3
[m] Defendant [_] Material Witness

[m] Maintain or actively seek employment unless excused by Supervising Agency for schooling, training, or other reasons approved by
Supervising Agency. Verification to be provided to Supervising Agency. [a] Employment to be approved by Supervising Agency.
[m] Avoid all contact, directly or indirectly (including by any electronic means), with any known victim or

witness in the subject investigation or prosecution, |] including but not limited to

;[_] except for

[m] Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

of counsel. Notwithstanding this provision, you may have contact with the following codefendants without your counsel present:

[m] Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. | ] Surrender any such item as

directed by Supervising Agency by and provide proof to Supervising Agency. [m] In order to determine

compliance, you agree to submit to a search of your person and property by Supervising Agency, which may be in conjunction
with law enforcement.

[_] Do not use or possess any identification, mail matter, access device (including, but not limited to, credit and debit cards), or any
identification-related material other than in your own legal or true name without prior permission from Supervising Agency.
[_] In order to determine compliance, you agree submit to a search of your person and property by Supervising Agency,
which may be in conjunction with law enforcement.

[_] Do not engage in telemarketing.

[_] Do not sell, transfer, or give away any asset valued at $ or more without notifying and obtaining

permission from the Court, except

[_] Do not engage in tax preparation for others.

[] Do not use alcohol. [~] Submit to alcohol testing. If directed to do so, participate in outpatient treatment as approved by Supervising
Agency. Testing may include any form of prohibited-substance screening or testing. You must pay all or part of the costs for testing
based upon your ability to pay as determined by Supervising Agency.

[m] Do not use or possess illegal drugs or state-authorized marijuana. [mj] Submit to drug testing. Testing may include any form of
prohibited-substance screening or testing. You must pay all or part of the costs for testing based upon your ability to pay as
determined by Supervising Agency. If directed to do so, participate in outpatient treatment as approved by Supervising Agency.

[m] In order to determine compliance, you agree to submit to a search of your person and property by Supervising Agency, which may
be in conjunction with law enforcement.

[m] Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or any street, synthetic, or
designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
prescribed by a medical doctor.

[_] Participate in residential substance abuse treatment as directed by Supervising Agency. You must pay all or part of the costs
of treatment based upon your ability to pay as determined by Supervising Agency. [“]Release to Supervising Agency only.

[m] Participate in mental health treatment, which may include evaluation, counseling, or treatment as directed by Supervising Agency.
You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.

Defendant's rita TY Date: G/ 294/34

CR-1 (1/24) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM " PAGE 2 OF 6

Case 2:24-cr-00461-FMO Document51_~ Filed 08/30/24 Page3of6 Page ID #:147

Case Name: United States of America v. Jose Jaime Garcia Case No. CR24-461-FMO-3
[m] Defendant [_] Material Witness

(m] Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability

to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

1. Location Monitoring Restrictions (Select One)

[_] Location Monitoring only - no residential restrictions

[_] Curfew: Curfew requires you to remain at home during set time periods. (Select One)
[_] As directed by Supervising Agency; or

[_] You are restricted to your residence every day from to

[m] Home Detention: Home detention requires you to remain at home at all times except for employment, education,

religious services, medical needs or treatment, attorney visits, court appearances and obligations, essential needs, and

, all of which must be preapproved by the Supervising Agency.

[_] Home Incarceration: Home Incarceration requires you to be at home 24 hours a day except for medical needs or treatment,

attorney visits, court appearances or obligations, and , allof which must

be preapproved by Supervising Agency.

2. Location Monitoring Technology (Select One)

[_] Location Monitoring technology at the discretion of the Supervising Agency. (If checked, skip to 3)

[m] Location Monitoring with an ankle monitor (Select one below)
[_] at the discretion of the Supervising Agency or
[_] Radio Frequency (RF) or
[m] Global Positioning System (GPS)
or

[_] Location Monitoring without an ankle monitor (Select one below)

[_] at the discretion of the Supervising Agency or
[_] Virtual/Biometric (smartphone required to participate) or

[_] Voice Recognition (landline required to participate)

3. Location Monitoring Release Instructions (Select One)

[m] Release to Supervising Agency only or [_] Enroll in the location monitoring program within 24 hours of release.

[_] You are placed in the third-party custody (Form CR-31) of

[_] Clear outstanding [_] warrants or[_] DMV and traffic violations and provide proof to Supervising Agency within days

of release from custody.

Defendant's Initials: ) G Date: & SAG /XY
CR-1 (1/24) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 3 OF 6
Case 2:24-cr-00461-FMO Document51- Filed 08/30/24 Page4of6é Page ID#:148

Case Name: United States of America v. Jose Jaime Garcia Case No. CR24-461-FMO-3
[m] Defendant [_] Material Witness

[_] Possess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging applications
and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts, that you disclosed
to Supervising Agency upon commencement of supervision. You must disclose any new devices, accounts, application, passwords,
or passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access, view,
obtain, store, or transmit digital data. ["] In order to determine compliance, you agree to submit to a search of your person and
property, including digital devices, by Supervising Agency, which may be in conjunction with law enforcement.

[_] All digital devices will be subject to monitoring by Supervising Agency. You must comply with the rules and regulations
of the Computer Monitoring Program and must pay the cost of the Computer Monitoring Program.

[_] Do not use or possess more than one virtual currency wallet/account, and that one wallet/account must be used for all virtual
currency transactions, Do not obtain or open a virtual currency wallet/account without prior approval of Supervising Agency.
You must disclose all virtual currency wallets/accounts to Supervising Agency when supervision starts and must make them available
to Supervising Agency upon request. You may use or possess only open public blockchain virtual currencies and are prohibited from
using private blockchain virtual currencies unless prior approval is obtained from Supervising Agency. [_] In order to determine
compliance, you agree to submit to a search of your person and property, including computer hardware and software, which may

be in conjunction with law enforcement.

Cases Involving a Sex-Offense Allegation

[_] Possess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging applications
and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts, that you disclosed
to Supervising Agency upon commencement of supervision. You must disclose any new devices, accounts, application, passwords, or
passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access, view, obtain,
store, or transmit visual depictions of sexually explicit conduct involving children. [_] In order to determine compliance, you agree to
submit to a search of your person and property, including digital devices, by Supervising Agency, which may be in conjunction with
law enforcement.

[_] All digital devices will be subject to monitoring by Supervising Agency. You must comply with the rules and regulations
of the Computer Monitoring Program and must pay the cost of the Computer Monitoring Program.

[_] Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person under the age of 18
except in the presence of the parent or legal guardian of the minor after you have notified the parent or legal guardian of the
pending charges or convictions involving a sex offense and only as authorized by Supervising Agency

[_] Do not enter or loiter within 100 feet of schoolyards, parks, public swimming pools, playgrounds, youth centers, video arcade
facilities, amusement and theme parks, or other places frequented by persons under the age of 18 and only as authorized to do so
by Supervising Agency.

[_] Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

[_] Do not view or possess child pornography or child erotica, including but not limited to pictures, photographs, books, writings,
drawings, or videos depicting or describing child pornography. [_] In order to determine compliance, you agree to submit to a
search of your person and property, including computer hardware and software, by Supervising Agency, which may be in conjunction

with law enforcement..

Defendant's Initials G Date: G/ Q q JQ
CR-1 (1/24) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE4OF6

Case 2:24-cr-00461-FMO Document51_~ Filed 08/30/24 Page5of6é Page ID#:149

Case Name: United States of America v. Jose Jaime Garcia Case No. CR24-461-FMO-3
[(m] Defendant [_] Material Witness

[_] Other conditions:

GENERAL CONDITIONS OF RELEASE

I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
United States District Court to which I may be removed or to which the case may be transferred.

I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
direction in connection with such judgment as the Court may prescribe.

I will immediately inform United States Probation and Pretrial Services and my counsel of any change in my contact information,
including my residence and telephone number, including cell phone number, so that I may be reached at all times.

I will not commit a federal, state, or local crime during the period of release. I will inform Supervising Agency of law enforcement
contact within 72 hours of being arrested or questioned by a law enforcement officer.

I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be

subject to further prosecution under the applicable statutes.

I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.

pamtatnie SG _ vue C/V OY

CR-1 (1/24) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 5 OF 6

Case 2:24-cr-00461-FMO Document51- Filed 08/30/24 Page6of6 Page ID#:150

«
v

Case Name: United States of America v. Jose Jaime Garcia Case No. CR24-461-FMO-3
[m] Defendant [_] Material Witness

ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

As acondition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
continue in full force and effect until such time as duly exonerated.

I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
fine.

I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
forfeited.

ZLAVAX_ Sose Gatcid YB 4-327 |

Date Signature of Defendant / i Telephone Number

emer CA

City and State (DO NOT INCLUDE ZIP CODE)

[_] Check if interpreter is used: I have interpreted into the language this entire form
and have been told by the defendant that he or she understands all of it.

Interpreter's Signature Date

Approved: \ yu 2 \ BO \ WwW
\ nite States Distrietjudge / Magistrate Judge Date

If cash deposited: Receipt # for $

(This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)

Defendant's Initials: DG Date: ¥ AN Ay

CR-1 (1/24) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 6 OF 6
